         Case: 17-55259, 03/07/2017, ID: 10346503, DktEntry: 2-2, Page 1 of 1



            Golden Boy Promotions, LLC, et al. v. Alan Haymon, et al.
                   U.S. Court of Appeals for the Ninth Circuit
                           9th Circuit Case No. 17-55259
             U.S. District Court Case No.: 2:15-cv-03378-JFW-MRW



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